        Case
         Case2:13-cr-00147-LDG-GWF
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1                UNITED STATES DISTRICT COURT
2                     DISTRICT OF NEVADA
                                          -oOo-
3
     UNITED STATES OF AMERICA,               )
                                             ) Case No.: 2:13-cr-0147-LDG-GWF
4
                                             )
                 Plaintiff,                  )
5                                            ) ORDER
          vs.                                )
6                                            )
     JACLYN MIKIE SUMARNKANT,                )
                                             )
7                                            )
                                             )
8               Defendant.                   )
                                             )
9

10
           Based on the representations contained in the Government’s motion and good
11   cause appearing,

12         IT IS HEREBY ORDERED that Government’s Motion to Dismiss Indictment

13   (ECF No._____)
             227 is granted. The Indictment (ECF No. 1) against Defendant

     JACLYN MIKIE SUMARNKANT is dismissed without prejudice.
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15
           DATED this ____ of September, 2016.
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                                         HONORABLE LLOYD D. GEORGE
                                         UNITED STATES DISTRICT JUDGE
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